
In re Doe, John; Doe, Jane et al.;— Plaintiff(s); applying for supervisory and/or remedial writs, Parish of Orleans, Civil District Court Div. A, Nos. 93-1328; to the Court of Appeal, Fourth Circuit, No. 99-C-1673.
Granted. The judgment of the court of appeal is vacated and set aside. The judgment of the trial court deferring ruling on the motion for partial summary judgment regarding the constitutionality of La.R.S. 9:5628 pending a hearing under Sibley v. Board of Supervisors, 477 So.2d 1094 (La.1985), is reinstated. Case remanded to the trial court for further proceedings.
TRAYLOR, J., not on panel.
MARCUS, VICTORY, and KNOLL, JJ., dissent from the order.
